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                                  United States District Court
                                   SOUTHERN DISTRICT OF CALIFORNIA


                      NOTICE OF E-FILED DOCUMENT DISCREPANCY

 CASE NUMBER: 16cv967-BAS(NLS)
 TITLE: Ewing v. Lend Mark Capital Group, Inc., et al.
 E-FILED DATE: 6/29/2016                        DOCUMENT NO.:               3
 DOCUMENT TITLE: Joint Motion of Dismissal with Prejudice
 DOCUMENT FILED BY: Plaintiff Anton Ewing

 Upon the electronic filing of the above referenced document(s), the following discrepancies are noted:


 Civil Local Rule or Electronic Case Filing Administrative Policies and Procedures Manual provision
 (“ECF”) Discrepancy

 OTHER: Pro Se Plaintiff does not have permission to file documents electronically for this case.
 Pursuant to ECF 2.b, pro se party must seek leave to electronically file documents in each case filed.




IT IS HEREBY ORDERED:
      The document is accepted despite the discrepancy noted above. Any further non-compliant
 ☒ documents may be stricken from the record.
      The document is rejected. It is ordered that the Clerk STRIKE the document from the record,
 ☐ and serve a copy of this order on all parties.
Counsel is advised that any further failure to comply with the Local Rules or Electronic Case Filing
Administrative Policies and Procedures Manual may lead to penalties pursuant to Civil Local Rule 83.1
or Criminal Local Rule 57.1.


                                                                    s/ Law Clerk
                                                                   Chambers of the Honorable
                                                                   District Judge Cynthia Bashant
